 Case 3:18-cv-01039-N             Document 26 Filed 09/03/18 Page 1 of 12                                    PageID 82
                                 UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

KEVIN R. BAILEY, on behalf of himself and                                            COMPLAINT-CLASS
ACTION
All others similarly situated,                                             :         Case No. 3:18-CV-01039

                 Plaintiff,                                       :

        v.                                                        :


AMERICAN COLLECTION SYSTEMS, INC                                           :

        And

Jonathan Klein, Attorney at Law

                 Defendants                                       :




        DEFENDANT JONATHAN KLEIN MEMORANDUM OF LAW IN SUPPORT OF
             SUMMARY JUDGMENT PURSUANT TO FED. R. CIV. P. 56



                                            TABLE OF CONTENTS




INTRODUCTION ............................................................................................................. 3

I.       STANDARD OF REVIEW………………………………………………………………4

II.      LEGAL ANALYSIS ............................................................................................... 4

III.     PLAINTIFF’S CLAIMS…………………………………………………………………..5

CONCLUSION ................................................................................................................ 9




                                                            -1-
 Case 3:18-cv-01039-N                  Document 26 OF
                                            TABLE   Filed 09/03/18
                                                      AUTHORITIES  Page 2 of 12                                   PageID 83



Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202
(1986)……………………………………………………………………………………………..4

Matsushita Electric Industrial Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S.Ct.
1348, 89 L.Ed.2d 538 (1986)…………………………………………………………………..4

Tyler v. Harper, 744 F.2d 653, 655 (8th Cir.1984)…………………………………………..4

Strand v. Diversified Collection Serv., Inc., 380 F.3d 316, 318–319 (8th Cir.2004)……..4

Rollins v. Portfolio Recovery Associates, LLC, No. 11–00665–CV–W–GAF, 2012 WL
6051999, *2 (W.D.Mo. April 2012)……………………………………………………………..5

Stratton v. Portfolio Recovery Associates, LLC, 770 F.3d 443, 450 (6th Cir.2014)………5

Glazer v. Chase Home Fin. LLC, 704 F.3d 453, 461–62 (6th Cir.2013)…………………...7

Limited, Inc. v. C.I.R., 286 F.3d 324, 332 (6th Cir.2002)………………………………….…7

Hartman v. Great Seneca Fin. Corp., 569 F.3d 606, 610, 614 (6th Cir.2009)………….…8

McMillan v. Collection Prof'l, Inc., 455 F.3d 754, 765 (7th Cir.2006).………………………8

Fox v. Citicorp Credit Servs., Inc., 15 F.3d 1507, 1517 (9th Cir.1994)……………………..8

Bradley v. Franklin Collection Serv., 739 F.3d 606, 610 (11th Cir.2014)…………………8




Fair Debt Collection Practices Act §

1692e……………………………….........................................................................3,5,6,7

1692e(2)………………………………..........................................................................3,5

1692e(10)………………………………......................................................................3,5,6,7

1692e(14)………………………………........................................................................3,7

1692 (f)

Rules


Fed. R. Civ. P.
56…….............................................................................................................................2,3


                                                               -1-
 Case 3:18-cv-01039-N        Document 26       Filed 09/03/18      Page 3 of 12     PageID 84

    Defendant Jonathan Klein respectfully submits this memorandum of law in support

 of his motion for summary judgment pursuant to Fed. R. Civ. P. 56. There are no

 genuine issues of material fact and he is entitled to judgment as a matter of law.


                                       INTRODUCTION

       On March 14, 2018, Defendant Klein sent Plaintiff a debt collection letter (dunning

letter) seeking a $1854.12 past due balance. The letter also informed the Defendant that

there was no interest 0.00 or any additional costs 0.00. There was no statement in the

letter that interest and additional costs would be added. The letter informed the debtor

that this letter should not be construed as a threat of suit. The letter is filed as an exhibit

(Doc. No. 1-1). Finally there is a phone number that is listed on the number for the debtor

to contact if he or she has questions.

       Plaintiff first argues by having 0.00 as interest and 0.00 as costs is misleading and

implies that interest may be charged in the future and this creates a false sense of

urgency with the debtor. Plaintiff also alleges that the phone number listed on letter is

misleading in that it is not associated with Defendant Klein, but instead with Defendant

American Collection System (ACS). Plaintiff argues it is misleading to the consumer

because the letter comes from an Attorney and not ACS which will create a false sense of

urgency. On April 24, 2018 Plaintiff commenced this FDCPA lawsuit.

       The issue is whether Defendant Klein violated the Fair Debt Collection Practices

Act (“FDCPA”) 15 U.S.C. § 1692e, e(2), e(10) and e(14) or 1692(f) and (f)(1) by having

0.00 as interest and 0.00 as costs and by sending a dunning letter on his letterhead with

the number(866) 391-3505.




                                               -1-
 Case 3:18-cv-01039-N        Document 26 Filed
                                STANDARD       09/03/18
                                          OF REVIEW               Page 4 of 12      PageID 85

       A moving party is entitled to summary judgment on a claim only if there is a

showing that “there is no genuine issue as to any material fact and that the moving party

is entitled to a judgment as a matter of law.” Fed.R.Civ.P. 56(c). “[T]he substantive law

will identify which facts are material. Only disputes over facts that might affect the

outcome of the suit under the governing law will properly preclude the entry of summary

judgment.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91

L.Ed.2d 202 (1986). If the moving party meets this requirement, the burden shifts to the

non-moving party to “set forth specific facts showing that there is a genuine issue for trial.”

Anderson, 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). In Matsushita

Electric Industrial Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 89

L.Ed.2d 538 (1986), the court emphasized that the party opposing summary judgment

“must do more than simply show that there is some metaphysical doubt as to the material

facts” in order to establish a genuine issue of fact sufficient to warrant trial. In reviewing a

motion for summary judgment, the court must view the evidence in the light most

favorable to the non-moving party, giving that party the benefit of all inferences that may

be reasonably drawn from the evidence. Matsushia, 475 U.S. 574, 588, 106 S.Ct. 1348,

89 L.Ed.2d 538; Tyler v. Harper, 744 F.2d 653, 655 (8th Cir.1984), cert. denied, 470 U.S.

1057, 105 S.Ct. 1767, 84 L.Ed.2d 828 (1985).


                                     LEGAL ANALYSIS

A.) Fair Debt Collections Practices Act


“The purpose of the FDCPA is to eliminate abusive debt collection practices by debt

collectors, [and] to [e]nsure that those debt collectors who refrain from using abusive debt

collection practices are not competitively disadvantaged.” Strand v. Diversified Collection

Serv., Inc., 380 F.3d 316, 318–319 (8th Cir.2004). Debt collectors are forbidden from (1)
                                            -1-
 Caseconduct
using 3:18-cv-01039-N      Document
             that constitutes        26 oppression,
                              harassment, Filed 09/03/18    Page
                                                      or abuse; (2)5 using
                                                                     of 12 false,
                                                                              PageID 86

deceptive or misleading misrepresentations; and engaging in unfair or unconscionable

means. Rollins v. Portfolio Recovery Associates, LLC, No. 11–00665–CV–W–GAF, 2012

WL 6051999, *2 (W.D.Mo. April 2012) (citing 15 U.S.C. § 1692d, 1692e, 1692f). FDCPA

requires that courts apply the “unsophisticated consumer” standard. Rollins, 2012 WL

6051999, *3. This includes an “objective element of reasonableness” which ensures debt

collectors remain free “from liability for peculiar interpretations of collection [attempts].” Id.

(quotingStrand, 380 F.3d at 318).


                                     PLAINTIFF’S CLAIMS


First Claim


       Plaintiff claims says that Defendant Klein violated FDCPA U.S.C. § 1692e, e(2)

and e(10) by sending dunning Letter to the him which contained a representation as to

“interest” and “all costs”

       Section 1692e says, among other things, that a “debt collector may not use any

false, deceptive, or misleading representation or means in connection with the collection

of any debt. [including] [t]he false representation of the character, amount, or legal status

of any debt.” 15 U.S.C. § 1692e. To determine if a debt collector's actions are false,

deceptive, or misleading under § 1692e, courts use the ‘least sophisticated consumer’

standard. Stratton v. Portfolio Recovery Associates, LLC, 770 F.3d 443, 450 (6th

Cir.2014). This standard seeks to protect “all consumers, the gullible as well as the

shrewd.” Id. The standard assumes that consumers of below-average sophistication or

intelligence are especially vulnerable to fraudulent schemes. Id.




                                               -1-
 Case 3:18-cv-01039-N       Document 26       Filed 09/03/18     Page 6 of 12     PageID 87

       Plaintiff argues that the putting this statement in the dunning letter

       Principal     Interest              All Costs     Amt owed

       1854.12       0.00                  0.00          1854.12



       is implying that the Defendant may properly add interest and fees to subject debt

and this creates a false sense of urgency. This is ludicrous, and I would like the Plaintiff to

point out one single case where a statement in a dunning letter that says 0.00 for interest

and all costs 0.00. was actionable under the FDCPA.. Defendant's dunning letter makes

no threat of interest or additional costs. There also was a number (866) 391-3505 that

Debtor could call had any questions regarding the debt. There is no claim in Plaintiff’s

Complaint that he even tried to reach Defendant Klein if he had any questions regarding

interests or costs. The language at issue here actually benefits the debtor and fully

discloses to the debtor he only owes nothing but the principal. This is complete

speculation on the Plaintiff’s part to say it creates a false sense of urgency. There no

statement saying interest and costs will be charged. I would think fully disclosing to the

debtor that the amount owed is only principal and not interest and costs, would create

less speculation regarding the amount owed. It breaks down exactly what the debt

consists of and nothing more.

. Second Claim

       Plaintiff further alleges that Defendant Klein violated the FDCPA 1692e, e(10), and

e(l4) because the dunning Letter had the number (866) 391-3505 to contact with

questions regarding a respective dunning letter. The plaintiff argues that this number is

associated the ACS and not Defendant Klein. The Plaintiff argues a unsophisticated

consumer would think Defendant Klein is attempting to collect a debt. Well, Defendant

Klein is attempting to collect a debt on behalf of ACS. Defendant Klein has been retained
                                             -1-
byCase
   ACS3:18-cv-01039-N      Document
       to collect debts. This          26 Filed
                              is not misleading or 09/03/18     Page 7 Defendant
                                                   false or confusing. of 12 PageID    88
                                                                                 Klein has

an office with ACS and I can be reached at 866-391-3505. Please see attached

affidavit. Again, there is nothing in the complaint that the Plaintiff ever called the

Defendant Klein or tried to reach Defendant Klein by the listed number and was not able

to reach me.

       There also is no violation of FDCPA if a Collection firm retains an attorney to send

dunning letters.

          The Record lacks any factual basis or evidence that Defendant Klein made false,

deceptive or misleading representations or otherwise made prohibited representations to

Plaintiff in violation of §1692e, e(10) and e (14)



Third Claim

       Plaintiff claims Defendant Klein violated FDCPA U.S.C. § 1692 (f) and (f)(1).

Plaintiff alleges that Defendants violated 15 U.S.C. §§ 1692f and f(l) through its references to

"interest" and "all costs" on the Dunning Letter because this will unfairly instilling a false sense of

urgency

The and the inclusion of these references suggests that interest and other costs or charges would

be properly collectible

          A debt collector may not use an “unfair or unconscionable means to collect or

attempt to collect any debt. 15 U.S.C. § 1692f. The FDCPA does not define an “unfair or

unconscionable” practice under § 1692f, but, with the caveat that it is not limiting the

general application of the term, it sets forth a non-exhaustive list of conduct that rises to

that level. See also Glazer v. Chase Home Fin. LLC, 704 F.3d 453, 461–62 (6th

Cir.2013); Limited, Inc. v. C.I.R., 286 F.3d 324, 332 (6th Cir.2002) (under the rule of

noscitur a sociis, the court should view the undefined term in light of its associates). The

listed conduct includes acceptance or solicitation of a postdated check absent certain

                                                  -1-
  Case 3:18-cv-01039-N
circumstances,            Document
               charging any          26communications
                            person for    Filed 09/03/18    Page 8 ofthe
                                                       by concealing  12 true
                                                                            PageID 89
                                                                              purpose

of the communication, taking or threatening to take an action to dispossess or disable

property when there is no present right in the property, communicating with a consumer

about a debt via postcard, or sending mail with any symbol other than the debt collector's

address and non-identifying business name. 15 U.S.C. § 1692f. The term also includes

the collection of any amount not expressly authorized by the debt agreement or by law.

15 U.S.C. § 1692f(1). Other actions that courts have determined to be potentially “unfair”

under § 1692f include attaching law-firm generated documents resembling credit card

statements to a state collection complaint, Hartman v. Great Seneca Fin. Corp., 569 F.3d

606, 610, 614 (6th Cir.2009), sending a collection letter that questioned the debtor's

honesty and good intentions, McMillan v. Collection Prof'l, Inc., 455 F.3d 754, 765 (7th

Cir.2006), filing for a writ of garnishment against a debtor who was current in payments,

Fox v. Citicorp Credit Servs., Inc., 15 F.3d 1507, 1517 (9th Cir.1994), and collecting 33%

of a debt balance as a collection fee, Bradley v. Franklin Collection Serv., 739 F.3d 606,

610 (11th Cir.2014).



Plaintiff argues again having this statement

       Principal       Interest              All Costs      Amt owed

       1854.12         0.00                  0.00           1854.12

is a violation because it is a unfair or unconscionable means to collect a debt. As far as

Plaintiff is concerned you can never put the word interest or costs in a dunning letter

because this always instills a sense of urgency in the debtor even if it says 0.00. Without

more, how does saying interest 0.00 and costs 0.00 create urgency? From a common

sense perspective, Plaintiff's purported rule would preclude the creditor or debt collector

from ever mentioning the word interest or costs to the debtor without potential FDCPA

liability. Plaintiff also argues that these references suggests that interest and other costs or
                                                  -1-
 Case 3:18-cv-01039-N
charges                      Document
        would be properly collectible. No 26
                                          whereFiled
                                               in the09/03/18
                                                      dunning letterPage   9 ofany
                                                                     is there   12mention
                                                                                    PageIDthat90

interest and costs would be charged in the future. The Plaintiff does not allege any other

specific facts in support of its assertion that Defendant Klein violated this subsection. The

court should stick to the plain language that is the dunning letter or reasonable inferences

that can be inferred from it and not speculate what debtors might think.

                                        CONCLUSION


       Also, there is nothing in the letter shows Defendant Klein is attempting a debt of

any amount not expressly authorized by the debt agreement or by law and there is no

statement threatens litigation or any statement that Defendant Klein is pursuing him. Most

importantly. Defendant Klein has not engaged in unfair or unconscionable conduct. As

such, Defendant Klein is entitled to summary judgment on these issue and statutory

damages and reasonable attorney’s fees.




                                               -1-
Case 3:18-cv-01039-N       Document 26     Filed 09/03/18   Page 10 of 12   PageID 91

Dated: September 3, 2018

Respectfully Submitted

/s/ Jon Klein
Jonathan Klein
800 Cross Pointe Rd., Ste. D
Gahanna, Ohio 43230
JWK283@AOL.COM




            CERTIFICATE OF SERVICE


A copy of the foregoing was served this
8/21/18, via First-Class United
States mail, postage prepaid, and/or
electronic mail to all parties including
the following:


Nathan C. Volheim
Counsel for Plaintiff
2500 South Highland Ave., Suite 200
Lombard, Illinois 60148

American Collection
800 Cross Pointe Rd., Ste. D
Gahanna, Ohio 43230



/s/ Jon Klein
Jonathan Klein




                                           -18-
3358200v3
Case 3:18-cv-01039-N   Document 26   Filed 09/03/18   Page 11 of 12   PageID 92
Case 3:18-cv-01039-N   Document 26   Filed 09/03/18   Page 12 of 12   PageID 93
